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         1004 Gateway Industrials Park, Jenkins, KY 41537                  No. 06182022-101




                                   Receipt

To: HBTPower Limited/ Huobi Technology Holdings Limited
Vistra Corporate Services Centre, Wickhams Cay II, Road Town, Tortola, VG1110,
British Virgin Islands


  Date                              Discription                              Amount USD
 7-Jun-22              Energy Security Deposit                                    2,849,970.00
 7-Jun-22              Energy Security Deposit                                      292,970.00


                       Rent Security, first month Rent, First Month
                       Stuffing Fee, 10% deposit of the equipment
17-Jun-22              purchasing                                                   989,970.00

Total:                                                                             4,132,910.00


            Sigature   Brandon Smith




                                                  EXHIBIT 2
